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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

___________________________________
                                    )
LASHAWN JONES, ET AL,               )
Plaintiffs; and                     )
UNITED STATES OF AMERICA            )
Plaintiffs in Intervention          )
                                    )
v.                                  )               Civil Action No. 2:12-cv-00859
                                    )               Section I, Division 5
MARLIN N. GUSMAN, ET AL,            )               Judge Lance M. Africk
Defendants                          )               Magistrate Judge Michael B. North
___________________________________ )
                                    )
MARLIN N. GUSMAN,                   )
Third-Party Plaintiff               )
                                    )
v.                                  )
                                    )
THE CITY OF NEW ORLEANS,            )
Third-Party Defendant               )
____________________________________)




  NOTICE OF WITHDRAWAL OF MOTION FOR A STAY OF IN-COURT STATUS
     HEARING AND CHAMBERS CONFERENCE IN LIGHT OF LAPSE OF
                        APPROPRIATIONS

       Currently pending before the Court is the United States’ Motion for a Stay of In-Court

Status Hearing and Chambers Conference in Light of Lapse of Appropriations (ECF No. 1144),

filed in the above-captioned case on January 22, 2018.         In light of the reinstatement of

appropriations to the Department of Justice, the United States respectfully withdraws its motion.
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                                  FOR THE UNITED STATES:

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Date: January 23, 2018




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                               CERTIFICATE OF SERVICE

       I hereby certify that on January 23, 2018, I served the foregoing via the Court’s CM/ECF
system, which will automatically provide notice to all counsel of record.


                                     s/ Kerry Krentler Dean
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